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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §    CASE NO. 1:14-CR-120(2)
                                               §
JEFFERY NORSWORTHY                             §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On April 23, 2015, this cause came before the undersigned United States Magistrate Judge for

entry of a guilty plea by the defendant, Jeffery Norsworthy, on Count One of the charging First

Superseding Indictment filed in this cause.

       Count One of the First Superseding Indictment charges that beginning on or about

December 1, 2013, the exact date being unknown to the Grand Jury, in the Eastern District of

Texas and elsewhere, Cristian Jaques Forman and Jeffery Norsworthy, defendants, intentionally



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and knowingly conspired with other persons known and unknown to the Grand Jury, to distribute

and possess with intent to distribute 50 grams or more of a Schedule II controlled substance,

namely, “actual” methamphetamine, in violation of 21 U.S.C. § 841(a)(1), all in violation of 21

U.S.C. § 846.

       Defendant, Jeffery Norsworthy, entered a plea of guilty to Count One of the First

Superseding Indictment into the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a. That Defendant, after consultation with counsel of record, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b. That Defendant and the Government have entered into a plea agreement and a plea

agreement addendum which were addressed in open court, entered into the record, and placed

under seal.

       c. That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

       d.     That Defendant’s knowing, voluntary and freely made plea is supported by an



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independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that his conduct falls within the definition of the crimes charged under 21 U.S.C. § 846.

                                 STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt,

through the sworn testimony of witnesses, including expert witnesses, as well as through

admissible exhibits, each and every essential element of the crime charged in Count One of the

First Superseding Indictment. The Government would also prove that the defendant is one and the

same person charged in the First Superseding Indictment and that the events described in the First

Superseding Indictment occurred in the Eastern District of Texas and elsewhere. The Court

incorporates the proffer of evidence described in detail in the factual basis and stipulation in

support of the guilty plea.

       Defendant, Jeffery Norsworthy, agreed with and stipulated to the evidence presented in

the factual basis. Counsel for Defendant and the Government attested to Defendant’s competency

and capability to enter an informed plea of guilty. The Defendant agreed with the evidence

presented by the Government and personally testified that he was entering his guilty plea

knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned



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determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the charging First Superseding Indictment on

file in this criminal proceeding. The Court also recommends that the District Court accept the

plea agreement and plea agreement addendum pursuant to the Local Rules for the United States

District Court for the Eastern District of Texas and Federal Rule of Criminal Procedure 11(c).

Accordingly, it is further recommended that, Defendant, Jeffery Norsworthy, be finally

adjudged as guilty of the charged offense under Title 21, United States Code, Section 846.

       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement until there has been an opportunity to

consider the presentence report. See FED. R. CRIM. P. 11(c)(3). If the Court rejects the plea

agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

the type of the plea agreement. See FED. R. CRIM. P. 11(c)(3)(B). If the plea agreement is rejected

and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to

Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

before the District Court before imposition of sentence.




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                                         OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s

failure to object bars that party from: (1) entitlement to de novo review by a district judge of

proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir.

1988), and (2) appellate review, except on grounds of plain error of unobjected-to factual findings

     .
and legal conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n.,

79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress

and the courts require that, when a party takes advantage of his right to object to a magistrate’s

findings or recommendation, a district judge must exercise its nondelegable authority by

considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).



                        SIGNED this the 23rd day of April, 2015.




                                                           ____________________________________
                                                           KEITH F. GIBLIN
                                                           UNITED STATES MAGISTRATE JUDGE




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